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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

                                                   §
 DAVID SAMBRANO, individually, and                 §
 on behalf of all others similarly situated,       §
                                                   §                  Civil Action No.
          Plaintiffs,                              §
                                                   §                4:21-CV-01074-P
 v.                                                §
                                                   §
 UNITED AIRLINES, INC.,                            §
                                                   §
          Defendant.                               §

              SUPPLEMENTAL APPENDIX IN SUPPORT OF DEFENDANT’S
            AMENDED MOTION TO COMPEL PRODUCTION OF DOCUMENTS

          NOW COMES, Defendant United Airlines, Inc. and files this Supplemental Appendix in

Support of Its Amended Motion to Compel Production of Documents.

EXHIBIT                             DESCRIPTION                                             APP NO.

      A                 Email from Kim Hamilton dated August 11, 2021                    Supp. App. 1

      B                 Email string from Senator Ted Cruz to Kim                   Supp. App. 2 - 3
                        Hamilton dated November 16, 2021

      C                 Email from Steve Kirsch’s Newsletter to Kim               Supp. App. 4 - 10
                        Hamilton dated April 24, 2023

                                               Respectfully submitted,

                                                      /s/ Russell D. Cawyer
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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served via e-mail
to all counsel of record this 19th day of June, 2023:

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                                     A
                                                                     SUPP. APP. 1
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                                    B                                SUPP. APP. 2
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                                                                     SUPP. APP. 3
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                                    C
                                                                     SUPP. APP. 4
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                                                                     SUPP. APP. 5
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                                                                     SUPP. APP. 7
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                                                                     SUPP. APP. 8
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                                                                     SUPP. APP. 9
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                                                                    SUPP. APP. 10
